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 4
     Attorney for LAGRANGER JONES
 5

 6                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,                  ) No. 15-61 JAM
 8
                     Plaintiff,                     )
 9                                                  ) STIPULATION AND
            v.                                      ) ORDER TO STATUS CONFERENCE
10                                                  )
     LAGRANGER JONES,                               ) Date: 7-28-15
11
                                                    ) Time: 9:15 a.m.
12
                     Defendant.                     ) Judge: Hon. John A. Mendez
     ================================)
13
            It is hereby stipulated between the parties, Jason Hitt, Assistant United States Attorney,
14

15
     Michael D. Long, attorney for defendant LaGRANGER JONES, that the status conference set for

16   June 2, 2015, at 9:15 a.m. should be vacated and re-set for July 28, 2015, at 9:15 a.m.
17          The parties further agree, pursuant to Fed.R.Crim.Pro.5.1(c) and (d), that this court should
18
     make a finding of good cause for the requested extension and that in fact good cause is hereby
19
     shown. Defense counsel is still reviewing discovery, meeting with Mr. Jones and developing
20
     defenses. Both defense counsel and the government are engaging in plea negotiations.
21

22          Each party further stipulates that the ends of justice served by granting such continuance

23   outweigh the best interests of the public and of all the defendants in a speedy trial. Each party
24
     would like time to be excluded as provided by Local Code T4 from today’s date through July 28,
25
     2015, for the effective preparation of all counsel, taking in to account due diligence. 18 U.S.C.
26
     section 3161(b)(7)(B)(iv).
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 1          All parties request the date of July 28, 2015, for the status hearing. The request for
 2
     extending the date for the status conference is at the specific request of the defendants and with the
 3
     knowing, intelligent and voluntary waiver of their speedy trial rights under the law. Good cause is
 4
     hereby shown.
 5

 6   Dated: May 29, 2015                                    Respectfully submitted,

 7                                                          /s/ Michael D. Long__________
                                                            MICHAEL D. LONG
 8
                                                            Attorney for LaGranger Jones
 9
     Dated: May 29, 2015                                    BENJAMIN WAGNER
10                                                          United States Attorney
11
                                                            /s/ Jason Hitt________
12                                                          JASON HITT
                                                            Assistant U.S. Attorney
13                                  ORDER
14
            GOOD CAUSE APPEARING AND HAVING BEEN SHOWN, IT IS SO ORDERED.
15
            The date for the preliminary hearing in this matter is hereby re-set for July 28, 2015, at 9:15
16
     a.m., before District Court Judge John A. Mendez. The court finds that the ends of justice served by
17
     granting such continuance outweigh the best interests of the public and of all the defendants in a
18   speedy trial. Time is excluded as provided by Local Code T4 from today’s date through July 28,
19   2015, for the effective preparation of all counsel, taking in to account due diligence. 18 U.S.C.
20   section 3161(b)(7)(B)(iv).

21
     Dated: May 29, 2015                            /s/ JOHN A. MENDEZ
22                                                  JOHN A. MENDEZ
                                                    United States District Court Judge
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